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AO 451 (Rev. 01/09) Clerk’s Certification of a Judgment to be Registered in Another District

 

UNITED STATES DISTRICT COURT

for the p () ( H
Central District of California .

 

_ __WILLIAM WILBER, etal, )
Plaintiff )
Vv. ) Civil Action No. SACV12-1448 AG (ANx)
WAL CAPITAL , LLC., et al )
Defendant )

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 02/27/2014.
1 also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending

before this court and that no appeal has been filed or, if one was filed, that it is no longer pending.

Date: 03/03/2014 | ss
CLERK OF COURT

 

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Case 8:12-cv-01448-AG-JPR Documenti114 Filed 02/26/14 Page 1lof2 Page ID #:3178

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

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WILLIAM WILBER, NICOLE
KHARZI, KAREN OLDMIXON,
LARRY CAIN, ROBYN JAMISON,
OTTO FOX, GAIL YOUNG, MARK
THOMAS, CINDY DICOSIMO,
CAROL WINKLER, AND DAVID
WINKLER,

CASE NO. SACV 12-1448 AG (ANx)

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AMENDED JUDGMENT

Se SS eR
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Plaintiffs,

—
On

Vv.

TOP GLOBAL CAPITAL, INC.; WAL
CAPITAL, LLC; WAL CAPITAL, SA;
APEX GLOBAL EXCHANGE, LTD.;
MY FOREX PLANET, INC.;
ZENOOST, INC.; CTN SYSTEMS
CORP.; MORRIS MOSKOWITZ; _ __.
METAQUOTES SOFTWARE CORP.;
DUKASCOPY BANK, SA;

COLDWELL, LTD.; FAIRFIELD

LAW FIRM, SA; LISBETH

GONZALEZ HERNANDEZ; JAVIER
GIL VALLARINO; MELODY PHAN;
MARK WALLACK;: GLENN

ALCARAZ; ROSAURA PATRICIA
BARQUERO CASARES; SAMUEL
VILCHEZ; AND ROY BAKER,

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Defendants.

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Having granted a motion for default judgment, the Court now enters Judgment in favor of
all Plaintiffs and against defaulting defendants Melody Phan; Marc Wallack; CTN Systems
Corp.; Morris Moskowitz; Glenn Alcaraz; Wal Capital, S.A.; Metaquotes Software Corporation;
Coldwell, Ltd.; and Top Global Capital, Inc. (“Defaulting Defendants.”) Defaulting Defendants
are jointly and severally liable for the August 9, 2013 judgment awarded to Plaintiffs in this
case. (Dkt. No. 83.) Defaulting Defendants are also jointly and severally liable for $5,600 in

attorney fees, and $8,413.69 in costs.
IT IS SO ORDERED.
DATED: February 26, 2014 fw co

Andrew J. Guilford
_ United States District Judge

 

 

 
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I hereby attest and certify on aa
that the foregoing document is a full, true
and correct copy of the original on file in
my office, and in my legal custody.

CLERK U.S. DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 
   

DEPUTY ALERK

 
